 

Case 4:12-cv-00500-DPI\/| Document 268 Filed 07/03/18 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

WESTERN DIVISION
DALE STROUD and
KARI STROUD PLAINTIFFS
V. No. 4:12-cV-500-DPM
SOUTHWESTERN ENERGY
COMPANY and SEECO, INC. DEFENDANTS
ORDER

SEECO’s motion for summary judgment, NQ 264, is denied
Without prejudice as premature The Court suspended the Scheduling
Order approximately six Weeks ago, and ordered various steps
regarding the partiesl discovery disputes. NQ 260 at 1. The Court must
resolve those disputes,' then the parties must finish discovery,
including expert disclosures. The Court Will set a date, Which Will be
after all those events, for a potentially dispositive motion. The Strouds’

motion for an extension, NQ 26 7, is denied as moot.

So Ordered.

 

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D.P. Marshall ]r.
United States District ]udge

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